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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA

    Kevin Scott Karsjens, et al.,                        Civil File No. 11-cv-3659 (DWF/TNL)

                          Plaintiffs,

           vs.                                                 DEFENDANTS’ RESPONSE
                                                             TO PLAINTIFFS’ OBJECTION
    Jodi Harpstead, et al.,                                          TO BILL OF COSTS

                         Defendants.


          The costs Defendants seek to tax are all costs the Clerk of Courts already determined

are appropriate. 1 Docs. 1125, 1125-1. Plaintiffs’ objections should be overruled, and the

Clerk of Courts should enter a cost judgment for $837,926.13.

                                    FACTUAL BACKGROUND

          In August 2013, Plaintiffs asked the Court “to order the State to provide for the

payment of the reasonable expenses, which will be incurred by Plaintiffs in this litigation

relating to expert witnesses, depositions, transcripts, and copying.”         Doc. 319, at 2.

Plaintiffs claimed that Federal Rule of Evidence 706 2 “provide[d] a sound basis for the

Court to appoint experts in this matter” at Defendants’ expense. Id. at 6, 7–8. Plaintiffs

told the Court that if it “d[id] not agree that it can provide for reasonable compensation of




1
  Defendants seek costs for one transcript that was not previously taxed by the Clerk due
to a lack of documentation. Defendants have now provided the invoice for this transcript.
2
  Recognizing that the federal in forma pauperis statute did not help them, Plaintiffs also
sought relief under Minnesota’s IFP law. Doc. 319, at 12–19. The Court correctly held
that Minnesota state law did not apply under the circumstances. Doc. 354, at 3–4.
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expert expenses without appointing the experts itself, then, in the alternative, Plaintiffs

would seek that the Court appointment [sic] such experts, in consultation with Plaintiffs’

counsel.” Id. at 12. Defendants objected. Doc. 328.

       Appointing expert witnesses “for the benefit of the Court,” Doc. 354, at 4, the Court

granted Plaintiffs’ motion. Id. Upon appointing the 706 Experts, the Court stated their

compensation would be “paid by the parties in the proportion and at the time the Court will

direct,” and noted that “[p]ursuant to Rule 706(c), the [706 Experts’] compensation shall

be charged as costs in this litigation.” Doc. 393, at 5 (emphasis added). The Court

instructed the parties to “confer and report to the Court any joint or separate

recommendations they may have for the allocation of such payment.” Id. The parties

jointly recommended that the 706 Experts’ costs be allocated “50/50 between plaintiffs and

defendants.” Doc. 403. Despite (1) the parties’ agreement to front the costs for the

706 experts equally, and (2) the fact that the 706 Experts were appointed at the request of

Plaintiffs, the Court nevertheless “initially allocated” the entirety of the 706 Experts’ costs

to Defendants. Doc. 427, at 75. The Court required Defendants to deposit $1.8 million to

pay for these experts. Doc. 434, at 2.

       Subsequent proceedings confirmed that the appointment of experts under Rule 706

were—as Plaintiffs requested—“to allow the Court to provide for compensation of experts

to assist Plaintiffs.” Doc. 319 at 6. Specifically, in July 2014, Defendants learned for the

first time that the Court gave instructions to the 706 Experts to find evidence to support

Plaintiffs’ claims. Doc. 569, at 75–80; see also Fed. R. Evid. 706(b) (requiring the court

inform the expert of the expert’s duties “in writing and have a copy filed with the clerk or


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may do so orally at a conference in which the parties have an opportunity to participate”).

As one of the experts testified, the process directed by the Court would never result in a

report about an individual or individuals who were in the right location, in the right phase

of treatment, and receiving the proper treatment for their treatment phase:

       Q.      And so, you’re not actually going to be writing any individualized
       reports about committed individuals at MSOP who are both in the right
       placement, in the right phase of treatment and receiving the proper treatment
       for their treatment phase; is that right?

       A.     Yes. Sorry, I may have misheard you the first time.

Doc. 569, at 80:17–:22. Dr. Robin Wilson, one of the 706 Experts, explained that the Court

“wondered whether or not there were any specific individuals that [the 706 Experts] might

– that we might ascertain would merit some further investigation or might actually be

someone that could be either recommended for release or for some sort of a change in

circumstances.”     Id. at 75:21–76:1.    Dr. Wilson testified that the Court wanted the

706 Experts to identify an individual to “serve as an example” of a “person [that] could

have their circumstances changed.” Id. at 76:2–:16.

       Although Plaintiffs now seem to suggest that the 706 Experts were actually more

helpful to Defendants, Doc. 1207, at 11–12, Plaintiffs ultimately called all of the

706 Experts at the beginning of their case. 3 Docs. 839, 847, 848, 851, 852, 860 (minute

entries identifying witnesses that testified at trial). Indeed, the first six days of Plaintiffs’

case-in-chief consisted largely of the 706 Experts. Id.



3
  For scheduling reasons, Plaintiffs called then-Commissioner Jesson out of order on the
fifth day of trial. See Tr. 234–35; Doc. 852.

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       Defendants have sought multiple times to have the costs associated with these

experts allocated to Plaintiffs. Docs. 1092, 1097, 1114. Indeed, at summary judgment

following the Karsjens I remand, Defendants asked the Court to finally apportion the

706 Experts’ costs to Plaintiffs.     Doc. 1097, at 12–13.       The Court denied final

apportionment of the 706 Experts’ costs as “premature” and stated that the issue would be

revisited “in connection with a Motion for Costs pursuant to Federal Rule of Civil

Procedure 54.” Doc. 1108, at 39–40, 42.

       Following the Court’s invitation, Defendants then sought their costs under Rule 54

following the 2018 entry of final judgment. Doc. 1114. Plaintiffs objected, raising nearly

identical objections to the objections they make now. Doc. 1116. Rejecting nearly all of

Plaintiffs’ objections, the Clerk of Court taxed $837,534.23 in costs, including all of the

706 Expert costs and the majority of the transcript costs sought. 4 Docs. 1125, 1125-1.

Plaintiffs moved the district court to review the cost judgment, but subsequently withdrew

the motion without prejudice after the Eighth Circuit’s decision in Karsjens II.

Docs. 1126, 1146.

       On remand following the Eighth Circuit’s decision in Karsjens II, the Court again

dismissed the remaining claims in this lawsuit and entered final judgment in favor of



4
  The Clerk of Courts denied certain transcript costs related to eTranscript and condensed
transcript costs and delivery charges. Doc. 1125-1, at 1–3. It also denied $210 for the lack
of an explanation for why a rough ASCII was necessary for one transcript, as well as all
costs related to the July 31, 2014 deposition transcript of Nancy Johnston due to a missing
invoice. Id. Aside from the Johnston deposition transcript, Defendants are not seeking
recovery of these costs; with this motion, Defendants provide the invoice previously
identified as missing by the clerk.

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Defendants; all claims have now again been decided by the Court in Defendants’ favor.

Doc. 1197. Defendants therefore move again for their costs. Defendants again seek

$732,923.92 in 706 Experts’ costs—the same amount the Clerk of Court previously

taxed—as well as $105,002.21 in transcript costs.

                                       ARGUMENT

I.     NAMED PLAINTIFFS SHOULD PAY DEFENDANTS’ COSTS

       Fed. R. Civ. P. 54(d)(1) creates a presumption that costs of a proceeding are taxed

in favor of the prevailing party. “When an expense is taxable as a cost . . . there is a strong

presumption that a prevailing party shall recover it ‘in full measure.’” Concord Boat

Corp. v. Brunswick Corp., 309 F.3d 494, 498 (8th Cir. 2002) (quoting In re Paoli R.R. Yard

PCB Litig., 221 F.3d 449, 462, 468 (3d Cir. 2000) and citing Zotos v. Lindbergh Sch. Dist.,

121 F.3d 356, 363 (8th Cir.1997)). “The ‘losing party bears the burden of making the

showing that an award is inequitable under the circumstances.’” Id. (quoting In re Paoli,

221 F.3d at 462–63). And, “[t]o rebut the presumption that the prevailing party is entitled

to recover all of its costs, the district court must provide a rationale for denying the

prevailing party’s claim for costs.” Thompson v. Wal-Mart Stores, Inc., 472 F.3d 515, 517

(8th Cir. 2006). “A general statement of fairness is insufficient, without more, to rebut the

Rule 54(d)(1) presumption for an award of costs to the prevailing party.” Id.

       Indigence is not enough to avoid taxing costs against a party. 28 U.S.C. § 1915(f)(1)

(IFP statute states that “[j]udgment may be rendered for costs at the conclusion of the suit

or action as in other proceedings”); Jackson v. Unknown Smith, 116 F.3d 480,

1997 WL 325433, at *1 (8th Cir. 1997) (per curium) (“A prevailing party may recover


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costs as a matter of course, if not precluded by federal law, whether the unsuccessful party

is fee-paying or indigent.”); Porter v. McDonough, No. 09-2536 (RHK/SER),

2011 WL 821181, at *1 (D. Minn. Mar. 2, 2011) (ordering indigent prisoner to pay costs

and stating that “[w]hile inability to pay may support denying costs, it does not mandate

it.”); Strutton v. Meade, No. 4:05CV02022, 2010 WL 4609365, at *2 (E.D. Mo. Nov. 4,

2010) (awarding costs against indigent defendant and stating that “taxing costs in favor of

the prevailing party is generally done as a matter of course” and “every lawsuit involves

an assumption of some amount of monetary risk on the part of the plaintiff, and the

possibility of the taxation of costs if one’s claims are not successful is merely another such

risk.”).   The Eighth Circuit has upheld multiple awards of Rule 54 costs against

non-prevailing parties experiencing economic hardship.            Lampkins v. Thompson,

337 F.3d 1009, 1017 (8th Cir.2003) (affirming award of costs to federal law enforcement

agents and against indigent prisoner); Cross v. General Motors Corp., 721 F.2d 1152, 1157

(8th Cir.1983) (affirming award of costs to major corporation and against individual

plaintiff of “limited financial resources”)). Other circuits have also held that an indigent

litigant may have costs taxed against him at the conclusion of the case if he is unsuccessful

on the merits of his action. Sales v. Marshall, 873 F.2d 115, 120 (6th Cir.1989) (noting

that “several courts of appeals have approved the taxation of costs against indigent civil

rights plaintiffs”); Lay v. Anderson, 837 F.2d 231 (5th Cir.1988) (per curiam); Harris v.

Forsyth, 742 F.2d 1277 (11th Cir.1984); Flint v. Haynes, 651 F.2d 970 (4th Cir.1981).




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       Here, Plaintiffs’ excuses for why they should not have to pay Defendants’ costs

have no merit. First, unlike the non-prevailing parties in the cases they cite, Plaintiffs have

not established the consequences an award of costs would have on them:

    • In Damgaard v. Mckennan, the unsuccessful litigant’s family’s financial
      circumstances were “dire,” with “the welfare benefits they receive being consumed
      by their basic subsistence needs.”                  No. 13-cv-2192 (SRN/JSM),
      2016 WL 1718370, at *2 (D. Minn. Apr. 29, 2016);
    • In Kaplan v. Mayo Clinic, the unsuccessful litigant had lost his ability to work due
      to medical procedures, he was in foreclosure, and he was $550,000 in debt.
      No. 07-3630 (JRT/JJK), 2011 WL 3837095, at *2 (D. Minn. Aug. 29, 2011);
    • In Pimentel v. St. Louis Public Schools, the unsuccessful litigant was unable to meet
      all of her obligations if costs were taxed.             No. 4:08CV 1477 TIA,
      2011 WL 3847413, at *1 (E.D. Mo. Aug. 26, 2011);
    • In Finch v. Texarkana School District No. 7 of Miller County, the unsuccessful
      litigant was unable to work because of a disability and was required to stay home
      and care for a disabled son. No. 05-CV-4070, 2009 WL 196546, at *1 (W.D. Ark.
      Jan. 28, 2009);
    • In Taylor v. Georgia-Pacific Corporation and International Association of
      Machinist and Aerospace Workers, Local W475, the unsuccessful litigant was
      unable find permanent employment. No. 06-CV-1079, 2008 WL 5156315, at *1
      (W.D. Ark. Dec. 8, 2008).

       Second, Plaintiffs have not established that an award of costs against them is unfair,

except to say that Plaintiffs lack the resources to pay Defendants’ costs incurred. 5 But, the


5
  While Plaintiffs claimed they qualified for in forma pauperis status over ten years ago,
see Docs. 2–15, they have not put forward any evidence of their current financial situation
or the foreseeability of their future financial situation. Indeed, as observed by the Kaplan
case relied on by Plaintiffs, it is not enough to make bald allegations or—as Plaintiffs did
here—claim they will prove their indigency later. See, e.g., Kaplan, 2011 WL 3837095,
at *2 (stating that “[a] losing party must establish indigence through affidavits or other
evidence of income, assets, and schedules of expenses” and that “[t]he nonprevailing party
must be facing dire financial circumstances to avoid taxation of costs”). This is Plaintiffs’
third opportunity to provide affidavits to support their alleged indigence, see Docs. 1116,
1127 (providing no affidavits in either their first bill of costs objection or in their first
appeal of the cost judgment), but for whatever reason they again chose not to do so.
Moreover, Plaintiffs failed to provide any evidence that their payment of costs are not
available from other means. See Hogan v. Novartis Pharm. Corp., 548 Fed. App’x 672,

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law requires even indigent parties to pay the costs of litigation, except for those items

waived by a party’s in forma pauperis status.              Lamar v. Kisrel, No. 10CV761,

2012 WL 2132276, at *2 (W.D.N.Y. June 12, 2012) (“It is the plaintiff’s responsibility to

pay for the costs of litigation other than the fees and specified items waived by the grant of

the plaintiff’s in forma pauperis status”). To hold otherwise “would in effect force

defendants to finance much of their indigent adversary’s trial preparation, regardless of the

outcome of the case.”       See Doe v. U.S., 112 F.R.D. 183, 184–85 (S.D.N.Y. 1986)

(discussing deposition expenses).      That the Court granted Plaintiffs’ request to use

Rule 706 of the Federal Rules of Evidence to “allow the Court to provide for compensation

of experts to assist Plaintiffs,” Doc. 319, at 6, is no excuse for the named plaintiffs to avoid

paying the cost. Further, Plaintiffs’ purported indigency does not square with Plaintiffs’

previous offer to split the initial allocation of the 706 Experts’ costs equally with

Defendants. Doc. 403.

       Third, it does not matter that the 706 Experts’ ultimate opinions partially supported

Defendants’ case. That the 706 Experts offered opinions that were helpful to Defendants

reflects the quality of Defendants’ sex offender treatment program. This is especially true

given the direction the experts received from the Court to find someone who could “serve

as an example” of an individual improperly treated or placed at MSOP. Doc. 569, at 76.




674 (7th Cir. 2013) (affirming cost judgment against indigent party when, among other
things, evidence showed her attorney agreed to cover any taxed costs as part of the retainer
agreement). Whether Plaintiffs are personally liable to pay any cost judgment is especially
questionable given Plaintiffs’ counsel’s previous agreement to split the costs of the
706 Experts “50/50.” Doc. 403.

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Regardless, unless Plaintiffs chose to spend nearly the entire first week of their case in

chief introducing evidence unfavorable to them, Plaintiffs must have believed the

706 Experts helped their case. See Docs. 839, 847, 848, 851, 852, 860 (minute entries

showing Plaintiffs called the 706 experts in their case in chief).

       Finally, the Clerk of Courts already found these costs to be appropriately taxable.

See Docs. 1125, 1125-1 (taxing 706 Experts’ costs). Plaintiffs have raised no new

objections such that the Clerk of Court should change course from its previous cost

judgment.

II.    PLAINTIFFS’ OBJECTIONS TO DEPOSITION AND HEARING TRANSCRIPT COSTS
       SHOULD BE OVERRULED.

       Plaintiffs oddly object to costs related to eight deposition transcripts on the grounds

that the deponents did not testify at trial, and their depositions were not admitted into

evidence. See Doc. 1207, at 13–14. But whether an individual testified at trial or her

deposition transcript was introduced at summary judgment is not the end of the inquiry.

Rather, costs may be taxed related to depositions that “are deemed reasonably necessary to

the parties at the time they are taken.” Superior Seafoods Inc. v. Hanft Fride, No. 05-170

(DWF/FLN), 2011 WL 6218286, at *1 (D. Minn. Nov. 21, 2011).                    “[D]eposition

transcripts for witnesses that possessed information relevant to the claims or defense in the

case may be taxed, even though the transcripts were not used at summary judgment.” Id.

Further, courts in this district have consistently allowed the prevailing party to recover

costs related to depositions noticed and taken by the non-prevailing party. See, e.g.,

Shukh v. Seagate Tech., LLC, No. 10-404 (JRT/JJK), 2014 WL 4348199, at *4 (D. Minn.



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Sept. 2, 2014) (“Generally, courts allow the prevailing party to recover the costs for

depositions noticed and taken by the losing party.”), vacated on other grounds by 618 Fed.

App’x 678 (Fed. Cir. 2015); Smith-Bunge v. Wisc. Central, Ltd., No. 15-4383 (DSD/LIB),

2018 WL 2926497, at *2 (D. Minn. June 7, 2018) (awarding costs for depositions taken by

Plaintiffs).

       As an initial matter, the Clerk of Court already rejected Plaintiffs’ arguments on

these eight transcripts and previously taxed these costs to Plaintiffs. See Doc. 1125-1, at 2–

3 (taxing costs of these transcripts). Further, of the eight transcripts to which Plaintiffs

object, seven were noticed and taken by Plaintiffs themselves. 6 Plaintiffs must have

believed that these seven individuals possessed information relevant to their claims or they

presumably would not have noticed their depositions. See Fed. R. Civ. P. 26(b)(1) (stating

that parties may “obtain discovery regarding any nonprivileged matter that is relevant to

any party’s claim or defense”).

       As to the deposition of Mr. Buse, that deposition was necessitated by Plaintiffs’

failure to include residents of MSOP-St. Peter and Community Preparation Services among

the class representatives. Unlike any of the Named Plaintiffs at the time, MSOP client

Buse resided at the MSOP-St. Peter campus. Given that Plaintiffs’ lawsuit challenged the

conditions at all MSOP locations, it was necessary to depose Mr. Buse.

       Plaintiffs next argue that the Clerk should not tax costs related to the expedited

nature of Mr. Carabello’s deposition transcript. Doc. 1207, at 13–14. The Clerk of Court


6
 The depositions of Robin Benson, Samantha Benson, Sheila Brandt, Alissa Hannah, Mari
Moen, Ana Remiger, and Ken Carabello were all noticed by Plaintiffs.

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already rejected this precise argument. Doc. 1125-1, at 3 (taxing all costs related to

Carabello’s deposition transcript except for costs related to a rough ASCII and delivery

charges that Defendants do not seek in their current bill of costs). In any event, an

expedited transcript was necessary because the deadline for parties to file dispositive

motions was a mere seven days after Mr. Carabello’s deposition, see Doc. 647, and

Defendants needed to be able to adequately respond to any claims made by Plaintiffs in

their brief. See Smith-Bunge, 2018 WL 2926497, at *2 (finding that a deposition transcript

was reasonably necessary for the prevailing party to “adequately respond to any claims

made by” the non-prevailing party in its summary judgment opposition). 7

       Finally, as to the hearing transcripts objected to by Plaintiffs, such transcripts were

necessarily obtained for use in this litigation, as outlined in Defendants’ spreadsheet of

costs. 8 Plaintiffs have not provided any reason why these transcripts were not necessary.

Indeed, as Defendants outlined in their bill of costs, hearing transcripts were necessary, in

at least some cases, for post-hearing or motion briefing or for trial. 9




7
  Even if it was not necessary to expedite Mr. Carabello’s deposition transcript, the Clerk
should nevertheless tax the cost of the deposition at the normal rate of $3.00 per page, as
documented on other invoices from Merrill Corporation that Plaintiffs have not objected
to.
8
  Plaintiffs have not objected to the transcript costs for trial (Lines 106–111), and therefore
such costs should at a minimum be awarded.
9
  And, again, the Clerk already rejected these arguments by Plaintiffs. Doc. 1116-1.

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III.     PLAINTIFFS’ REQUEST TO STAY THE BILL OF COST PROCEEDINGS IS NOT
         PROCEDURALLY PROPER AND EVEN IF IT WERE, IT SHOULD BE DENIED.

         The District of Minnesota’s Bill of Costs Guide 10 clearly prohibits requests for a

stay in a party’s objection to costs: “Do not request to stay the determination of costs in an

Objection to the Bill of Costs as the Clerk does not have [the] authority to determine a

request for a stay.” D. Minn. Bill of Costs Guide, at 3. Rather, “Motions to Stay Costs

Pending Appeal should be made directly to the District Judge in the case in accordance

with LR 7.1.” Id. Plaintiffs’ request to stay the determination of costs is procedurally

improper and should be denied.

         But even if it were permissible for Plaintiffs to request a stay in its objection, the

request should be denied. The taxation of costs is not prohibited even though an appeal is

pending; indeed, the Local Rules were specifically amended in 2009 to “change[] the past

practice of the Clerk of Court not to tax costs until all applicable appeal periods have

expired.” 2009 Advisory Committee’s Note to L.R. 54.3. The Eighth Circuit has affirmed

costs awarded during a pending appeal, noting that no authority prohibits such an award.

Blakley v. Schlumberger Tech. Corp., 648 F.3d 921, 930 (8th Cir. 2011). When deciding

whether to issue a stay pending appeal, courts in this District have considered the factors

of judicial economy, whether the movant demonstrates a strong showing of success on

appeal, whether the movant will suffer irreparable injury absent a stay, and whether a stay



10
   Defendants understand that the District’s Bill of Costs Guide is not itself legal authority.
It is, however, “persuasive evidence of the law as it exists within the District of Minnesota
regarding the billing of costs.” Mountain Marketing Grp v. Heimerl & Lammers, LLC,
No. 14-cv-846, 2016 WL 424964, at *1 n.1 (D. Minn. Feb. 3, 2016).

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harms the public interest. Kushner v. Buhta, No. 16-cv-2646, 2019 WL 1417434, at *4

(D. Minn. Mar. 29, 2019). All of these factors favor Defendants.

       First, judicial economy is best served by taxing costs now. “The possibility that the

underlying judgment might be reversed, with the result that the award of costs must also

be reversed, is simply too speculative to outweigh the benefit of the trial court conducting

a review of the bill of costs while the case is still fresh.” Id. (quoting Prism Techs., LLC v.

McAfee, Inc., No. 10-220, 2013 WL 571789, at *2 (D. Neb. Feb. 13, 2013)). Plaintiffs

erroneously believe that because this case has been pending for nearly eleven years, a stay

somehow favors judicial economy. This makes no sense. The last appeal to the Eighth

Circuit took two-and-a-half years before the parties received a decision. Adding on the

time it took for Plaintiffs’ petition for certiorari to the Supreme Court to be denied, three

years elapsed before the case returned to the district court. Assuming similar timelines for

the present appeal, Plaintiffs would have the Court wait to tax costs until 2025—a date

fourteen years after this case was initially filed, and ten years after the trial occurred in this

matter—to decide the issue of costs. This is the opposite of judicial economy.

       Second, Plaintiffs failed to show they are likely to succeed on the merits of their

appeal. Their argument is a single sentence that cites no case law and merely states they

have a likelihood of success because they won an “initial victory” and a “partial victory on

one of two appeals.” Plaintiffs’ “initial victory” was reversed in its entirety by the Eighth

Circuit, see Karsjens v. Piper, 845 F.3d 394 (8th Cir. 2017), and Plaintiffs’ “partial

victory” in their second appeal was a decision that simply remanded the case to the district

court to apply a different legal standard—a legal standard that again resulted in the


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dismissal of all of Plaintiffs’ remaining claims, Doc. 1197. Two “victories” that later

resulted in the dismissal of Plaintiffs’ complaint is far from a showing that Plaintiffs are

likely to succeed on the merits of an appeal.

         Third, Plaintiffs provided no evidence that they will suffer irreparable injury absent

a stay. Plaintiffs misinterpret this factor, arguing that Defendants will not suffer irreparable

harm. But the question is whether the party seeking a stay, not the party seeking its costs,

will be irreparably harmed. Kushner, 2019 WL 1417434, at *4. If Plaintiffs’ claim is true

that they “would be wholly unable to pay” any costs taxed to them, 11 whether a cost

judgment is decided now or in three years will not affect Plaintiffs at all.

         Finally, public interest favors deciding Defendants’ bill of costs without delay

“because doing so preserves judicial economy and allows for the prompt resolution of the

remaining issues before the Court.” Inline Packaging, LLC v. Graphic Packaging Int’l,

No. 15-3183, 2019 WL 1058241, at *2 (D. Minn. Mar. 6, 2019).




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     As discussed above, this claim is unsupported by any evidence.

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                                      CONCLUSION

         For the foregoing reasons, the Court should tax the costs contained in Defendants’

bill of costs.

Dated: April 13, 2022.                        Respectfully submitted,

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